Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-23, PageID.2089   Filed 04/10/25   Page 1


                    EXHIBIT 22
                                      of 4
             Case 1:22-cv-00838-RJJ-PJG ECF No. 86-23, PageID.2090                               Filed 04/10/25         Page 2
                                     B-Complaint CAP
                                                 of 4 Cover Page
                                         Kalamazoo Public Schools (39010) - July 2018

The RAP Team, as listed below has created the Corrective Action Plan and will assure that all responsible parties
complete the tasks and activities and provide evidence of correction.

Name                                                         Position                                            Date
Reuquiyah Saunders                                           Director of Special Education                       8/23/2018
Nkenge Bergan                                                Director of Student Services                        8/23/2018
Barry Smith                                                  Administrator of Student Services                   8/23/2018
Janine VanStee                                               Coordinator of Special Education                    8/23/2018
Johnny Edwards                                               Secondary Director of Education                     8/23/2018
Kevin Seale                                                  School Psychologist                                 8/23/2018



Required Compliance and Sanctions
Each activity in the Corrective Action Plan (CAP) is subject to and must be carried out in compliance with the
procedural requirements of the IDEA and corresponding implementing federal regulations and state rules . In no event
may the district leave its obligations toward these findings of noncompliance unresolved.

This CAP will remain open pending OSE and/or OGS/ECD&FE verification that the noncompliance has been
corrected within the required timeline. The district is advised that the OSE and/or OGS/ECD&FE will maintain
jurisdiction over the findings of noncompliance until the CAP is officially closed . Failure to correct the areas of
noncompliance will result in enforcement actions by the State.



MDE CAP Clarification/Approval Comments                              District CAP Clarification




MDE Verification/Closeout Comments                                   ISD Verification Clarification




11/27/2023                                                                                                                   Page 1 of 3

                                                                                             MDE_007736
             Case 1:22-cv-00838-RJJ-PJG ECF No. 86-23, PageID.2091 Filed 04/10/25                                      Page 3
                               B-Complaint CAP Finding
                                                 of 4   Page: Finding 1
                                         Kalamazoo Public Schools (39010) - July 2018

Case Number: 18-0085

Complaint Findings:

The district is not in compliance with the IDEA and/or the MARSE regarding child find including:
The District had information to suspect that the Student may be a student with a disability and in need of special
education and did not meet their child find obligation.

1. Based on your RAP Team activities, what are the underlying problems that caused the noncompliance? How may
district policies, procedures and practices, or the lack of supports, have contributed to these results?

 The underlying problems that caused the noncompliance was the lack of documentation from the district in this case
regarding Child Find attempts over the student elementary and middle school years. The district failed to create and
appropriate documentation to show building team attempts to provides appropriate supports including an initial
evaluation to the family, but family refused. In addition, the district's understanding and MDE's interpretation of
exclusionary factors for eligibility, in this case chronic absenteeism. IDEA and MARSE identify attendance as a
possible exclusionary factor and this student has had a chronic attendance issue for the past 3 years. However, in the
this complaint finding, the district was informed that this should not have been a factor in considering is the student
had a disability. The district will update policies and procedures in accordance with MDE' s interpretation of IDEA and
MARSE regarding Child Find based on this case.

2. Required Corrective Action:

The district must revise or develop procedures regarding child find, as needed, by 09/01/2018 to document and
ensure that:
  · • The District fulfills its ongoing Child Find obligation to identify , locate and evaluate students who are suspected of
having a disability and in need of special education services.

The district must provide professional development by 01/15/2019 for all relevant staff regarding the new procedures.
Evidence of change in the district's practices must be provided and verified by the OSE.

3. Activity steps, dates they will occur, and name/title of person responsible:

        Activity Steps                                       Date/Deadline(s)          Name/Title of Person Responsible
1       The district will provide all SE ancillary staff     10/26/2018                Director of Special Education
        with professional development in the
        findings of this case, MDE's interpretation of
        Child Find and compliance corrective
        actions required by the district.

        The district will provide MTSS and child             11/2/2018                 Director of Special Education
        study teams with professional development
        implementing MDE's interpretation from the
        case regarding Child Find and the updated
        district procedures based on this case and
        the corrective action required.



4. What documentation will your district have available as evidence that your tasks and activities were completed
(e.g., meeting notes, agendas, new procedures)?


11/27/2023                                                                                                                      Page 2 of 3

                                                                                             MDE_007737
             Case 1:22-cv-00838-RJJ-PJG ECF No. 86-23, PageID.2092 Filed 04/10/25                                   Page 4
                               B-Complaint CAP Finding
                                                 of 4   Page: Finding 1
                                        Kalamazoo Public Schools (39010) - July 2018



The district will provide professional development slides, agenda, and sign-in sheets of the two activities identified
above that will detail MDE's findings in this case, their recommendations and corrective level action requirements
regarding Child Find.

5. How will the district monitor data on a monthly basis to determine that the tasks and activities listed in #3 have
corrected the noncompliance (e.g., monthly data pulls, monthly record reviews)?

The district will review initial request and REED consent documents to ensure that all the MDE's Child Find
interpretations are represented in the documentation as well as in the Student Services department manual.

If an assurance statement is required, please upload it here:



MDE Findings Comments                                               District Findings Clarification




11/27/2023                                                                                                               Page 3 of 3

                                                                                            MDE_007738
